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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  ANDY KIM, in his personal capacity as a
  candidate for U.S. Senate, et al.,               Case No.: 3:24-cv-01098-ZNQ-TJB

                 Plaintiffs,
                                                         NOTICE OF APPEAL
           v.

  CHRISTINE GIORDANO HANLON, in
  her official capacity as Monmouth County
  Clerk, et al.,

                 Defendants.


           PLEASE TAKE NOTICE that Intervenor Camden County Democratic Committee

 hereby appeals, pursuant to 28 U.S.C. § 1292(a)(1), to the United States Court of Appeals for

 the Third Circuit from the Order (ECF No. 195) and Opinion (ECF No. 194) granting Plaintiffs’

 motion for a preliminary injunction entered on March 29, 2024.

                                               Respectfully submitted,

                                               BROWN & CONNERY, LLP
                                                Attorneys for Intervenor,
                                               Camden County Democratic Committee

 Dated: March 30, 2024                    By: s/ William M. Tambussi
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